           Case 1:17-cv-09706-VSB Document 65 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  10/15/2020
EMA FINANCIAL, LLC,                                       :
                                                          :
                                        Plaintiff,        :
                                                          :               17-cv-9706 (VSB)
                      -against-                           :
                                                          :                    ORDER
JOEY NEW YORK INC., et al.,                               :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        The parties in their joint proposed pretrial order have requested a five (5) day bench trial.

(Doc. 60 at 27). The parties have also indicated that they are generally available for trial after

November 23, 2020. (Doc. 62). Accordingly, it is hereby:

        ORDERED that a five (5) day bench trial in the above-captioned action will be held

before me beginning on December 7, 2020 at 10:00 a.m. This trial will be conducted remotely

via videoconference. If the parties confer and do not consent to a remote trial and want to wait

until a courtroom is available, they should inform the Court by no later than October 19, 2020.

In the event of an in-person trial, the parties should be advised that any out-of-state witnesses or

attorneys, or witnesses or attorneys that have traveled out of state ahead of trial, may be required

to quarantine in accordance with federal, state, and/or local laws and public health guidelines.

SO ORDERED.

Dated: October 15, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
